            Case 1:20-cv-03661-ER Document 28 Filed 08/17/20 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TRADESHIFT, INC.,                                    PROPOSED CIVIL CASE DISCOVERY
                                                     PLAN AND SCHEDULING ORDER
                   Plaintiff,
                                                     Case No. 1:20-cv-03661(ER)
       v.
SMUCKER SERVICES COMPANY,
                   Defendant.



       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

       1.     All parties do not consent to conducting all further proceedings before a
              Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
              The parties are free to withhold consent without adverse substantive
              consequences. (If all parties consent, the remaining paragraphs of this form need
              not be completed.)

       2.     This case is to be tried to a jury.

       3.     Joinder of additional parties must be accomplished by September 25, 2020.

       4.     Amended pleadings may be filed until September 25, 2020.

       5.     Interrogatories shall be served no later than February 12, 2021, and responses
              thereto shall be served within thirty (30) days thereafter. The provisions of Local
              Civil Rule 33.3 shall not apply to this case.

       6.     First request for production of documents, if any, shall be served no later than
              August 28, 2020.

       7.     Non-expert depositions shall be completed by April 9, 2021.

              a.       Unless counsel agree otherwise or the Court so orders, depositions shall
                       not be held until all parties have responded to any first requests for
                       production of documents.

              b.       Depositions shall proceed concurrently.

              c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
            Case 1:20-cv-03661-ER Document 28 Filed 08/17/20 Page 2 of 4




                         non-party depositions shall follow party depositions.

      8.        Any further interrogatories, including expert interrogatories, shall be served no
                later than February 12, 2021.

      9.        Requests to Admit, if any, shall be served no later than February 12, 2021.

      10.       Expert reports shall be served no later than May 26, 2021.

      11.       Rebuttal expert reports shall be served no later than June 23, 2021.

      12.       Expert depositions shall be completed by July 28, 2021.

      13.       Additional provisions agreed upon by counsel are attached hereto and made a
                part hereof.

      14.       ALL DISCOVERY SHALL BE COMPLETED BY JULY 28, 2021.

      15.       Any motions shall be filed in accordance with the Court’s Individual Practices.

      16.       This Civil Case Discovery Plan and Scheduling Order may not be changed
                without leave of Court (or the assigned Magistrate Judge acting under a specific
                order of reference).

      17.                                                               Katharine H. Parker
                The Magistrate Judge assigned to this case is the Hon. ______________________ .

      18.       If, after entry of this Order, the parties consent to trial before a Magistrate
                Judge, the Magistrate Judge will schedule a date certain for trial and will, if
                necessary, amend this Order consistent therewith.
                                                                            July 28, 2021
      19.       The next case management conference is scheduled for ____________________ ,
                     11:30 AM
                at ____________ . (The Court will set this date at the initial conference.)




      SO ORDERED.

Dated: New York, New York
           August 17, 2020



                                                               Edgardo Ramos, U.S. District Judge
           Case 1:20-cv-03661-ER Document 28 Filed 08/17/20 Page 3 of 4




The parties agree and stipulate to the following:

   1. Agreement for electronic service:

           a. The parties agree to e-service for documents, pleadings, and motions.

   2. Mediation:

           a. The parties are interested in mediation and are exploring the best time to explore
               resolution.

   3. Expert Communications and Reports:

           a. Within three days after the disclosure of any expert report, the disclosing party
               shall send the opposing party—by FTP link or overnight mail—a copy of all
               documents cited in the expert report.

           b. Communications between counsel and retained testifying expert witness shall not
               be subject to discovery, unless the communications: (i) identify facts or data that
               counsel provided and that the expert considered or relied upon forming the
               opinions to be expressed; and/or (ii) identify assumptions that counsel provided
               and that the expert relied upon in forming the opinions to be expressed.

           c. Notwithstanding the forgoing, communications between counsel and a retained
               expert during deposition shall not be discoverable. Communications and
               documents exchanged between counsel and non-testifying retained consulting
               expert witnesses are not discoverable. In addition, any draft reports, notes,
               working papers, or other preparatory materials, in whatever form, prepared by any
               retained expert or any person working with a retained expert, shall not be subject
               to discovery.
          Case 1:20-cv-03661-ER Document 28 Filed 08/17/20 Page 4 of 4



Dated: August 6, 2020                By:   /s/ Richard F. Martinelli
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Dated: August 6, 2020                By:   /s/ Chelsea Mikula*
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